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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5066                                                September Term, 2024
                                                                       1:25-cv-00465-TNM
                                                       Filed On: March 28, 2025
United States Conference of Catholic
Bishops,

              Appellant

       v.

United States Department of State, et al.,

              Appellees


       BEFORE:       Henderson, Millett*, and Walker, Circuit Judges

                                        ORDER

       Upon consideration of the emergency motion for injunction pending appeal and
for expedited appeal on the merits, the opposition thereto, and the reply, it is

       ORDERED that the motion for an injunction pending appeal be denied. Appellant
has not satisfied the stringent requirements for an injunction pending appeal. See
Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); D.C. Circuit Handbook
of Practice and Internal Procedures 33 (2024).

       The Clerk is directed to enter a briefing schedule and to schedule this case for
oral argument on the first appropriate date in September 2025.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Selena R. Gancasz
                                                         Deputy Clerk




* A statement by Circuit Judge Millett, dissenting from the denial of an injunction
pending appeal, is attached.
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                MILLETT, Circuit Judge, dissenting:

                I would grant the motion for an injunction pending appeal.
            The Conference of Catholic Bishops is likely to succeed on
            appeal and is suffering irreparable injuries.

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                 With respect to the likelihood of success on the merits, the
            district court dismissed the case solely on a jurisdictional
            ground, reasoning that the Conference’s case seeks to enforce
            only a contractual right for money and so must proceed in the
            Court of Federal Claims under the Tucker Act, 28 U.S.C.
            § 1491. See United States Conference of Catholic Bishops v.
            United States Dep’t of State, 25-cv-00465, 2025 WL 763738,
            at *1 (D.D.C. Mar. 11, 2025). That conclusion cannot be
            reconciled with the content of the complaint, the sources of the
            rights asserted, or long-settled Supreme Court and circuit
            precedent recognizing that challenges to the lawfulness of
            agency action are properly prosecuted under the
            Administrative Procedure Act even if the plaintiff stands to
            benefit contractually once the agencies’ legal missteps are
            corrected.

                 To determine whether the Conference’s claims against the
            government “sound[] in contract,” and therefore may not be
            brought in federal district court, we “consider both ‘the source
            of the rights upon which the plaintiff bases its claims’ and ‘the
            type of relief sought (or appropriate).’” Albrecht v. Committee
            on Emp. Benefits of Fed. Reserve Emp. Benefits Sys., 357 F.3d
            62, 68 (D.C. Cir. 2004) (quoting Megapulse, Inc. v. Lewis, 672
            F.2d 959, 968 (D.C. Cir. 1982)).

                Starting with the first prong, on its face, the Conference’s
            complaint raises traditional claims under the Administrative
            Procedure Act, not contract law. The legal sources of the rights
            it asserts are entirely statutory, not contractual.         The
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            Conference argues that the State Department’s sudden,
            unreasoned, and unjustified termination of the Refugee
            Resettlement Program’s funding—money that had already
            been appropriated by Congress—violates federal law, not its
            contract. The Conference grounds its claims in the legal
            requirements of the Refugee Act of 1980, 8 U.S.C. § 1522, the
            Impoundment Control Act, 2 U.S.C. §§ 682-684, and the
            Administrative Procedure Act, 5 U.S.C. § 706. See ECF No.
            29 (Amended Compl.) ¶¶ 70-117.

                 The proof of the statutory character of the claims is in the
            pudding. To decide this case, the court will have to interpret
            those federal laws and review the State Department’s
            administrative record. The court will have little, if any, need
            to analyze or interpret the Conference’s contracts with the State
            Department. See Crowley Gov’t Servs., Inc. v. General Servs.
            Admin., 38 F.4th 1099, 1108-1109 (D.C. Cir. 2022) (case arises
            under the APA, not contract law, when the claims presented
            “require[] primarily an examination of the statutes”).

                 To put it simply, the claims in the complaint are “not
            questions the district court can answer by examining a
            contractual promise made by” the government to the
            Conference. Crowley, 38 F.4th at 1109. And, contrary to the
            district court’s analysis, we have “explicitly rejected the
            ‘broad’ notion ‘that any case requiring some reference to or
            incorporation of a contract is necessarily on the contract and
            therefore directly within the Tucker Act.’” Id. at 1107 (quoting
            Megapulse, 672 F.2d at 967-968). To do otherwise “would
            ‘deny a court jurisdiction to consider a claim that is validly
            based on grounds other than a contractual relationship with the
            government.’” Id. at 1107 (quoting Megapulse, 672 F.2d at
            967-968).
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                 Turning to the second prong, the relief the Conference
            seeks is traditional equitable and declaratory relief—the
            mainstay of APA actions. That is entirely different from
            monetary damages under the contract. See Crowley, 38 F.4th
            at 1107. We have held that a complaint will not be read to seek
            contractual monetary relief “as long as the complaint only
            requests non-monetary relief that has considerable
            value independent of any future potential for monetary relief
            and as long as the sole remedy requested is declaratory or
            injunctive relief that is not negligible in comparison with the
            potential monetary recovery.” Id. at 1107-1108 (quoting
            Kidwell v. Department of Army, Bd. for Correction of Mil.
            Recs., 56 F.3d 279, 284 (D.C. Cir. 1995)) (internal quotation
            marks omitted).

                 The Conference’s complaint fits that bill. Nowhere does
            it ask for money damages. Instead, it seeks a declaratory
            judgment that the Refugee Resettlement Program funding
            suspension violates federal laws, an order setting aside the
            suspension order, an injunction preventing the government
            from enforcing the suspension against the Conference, and an
            order to the government to comply with its statutory and
            regulatory obligations. These are equitable remedies well
            within the district court’s APA domain. ECF No. 29 (Amended
            Compl.) at 40-41.

                 To be sure, one effect of that equitable relief may be that
            payments required by law flow to the Conference because it
            has a contract. But that is not enough to turn the complaint into
            one for contract damages. The Supreme Court has “long
            recognized” that “[t]he fact that a judicial remedy may require
            one party to pay money to another is not a sufficient reason to
            characterize the relief as ‘money damages.’” Bowen v.
            Massachusetts, 487 U.S. 879, 893 (1988). In Bowen, the
            Supreme Court held that a lawsuit seeking injunctive relief
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            compelling a federal agency to make payments owed to
            Massachusetts under its Medicaid contract with the
            government was a proper APA suit, because “the orders are for
            specific relief (they undo the Secretary’s refusal to reimburse
            the State) rather than for money damages (they do not provide
            relief that substitutes for that which ought to have been
            done)[.]” Id. at 910. As a result, the case fell within the district
            court’s APA jurisdiction—not the Claims Court’s Tucker Act
            jurisdiction, as the Secretary had argued. Id. at 904.

                 In so reasoning, the Supreme Court endorsed this circuit’s
            precedent in Maryland Department of Human Resources v.
            Department of Health & Human Services, 763 F.2d 1441 (D.C.
            Cir. 1985). In that case, Judge Bork, writing for the court,
            explained that, in a case brought under the APA, “injunctive
            relief enjoining defendants from reducing funds otherwise due
            to plaintiffs” is “not a claim for money damages, although it is
            a claim that would require the payment of money by the federal
            government.” Bowen, 487 U.S. at 894 (quoting Maryland
            Dep’t, 763 F.2d at 1446) (formatting modified). As Judge Bork
            explained, such payment would be separate and apart from
            money damages—that is, “money in compensation for the
            losses * * * that [a plaintiff] will suffer or has suffered by virtue
            of the withholding of those funds.” Id. (quoting Maryland
            Dep’t, 763 F.2d at 1446).

                The Supreme Court’s decision in Bowen and our precedent
            in Maryland Department are squarely on point. Or so the
            Conference is likely to succeed in arguing. The Conference
            seeks declaratory and injunctive relief for the State
            Department’s assertedly unlawful termination of Refugee
            Resettlement Program funding. That is, this lawsuit aims to
            “require the payment of money by the federal government” that
            a federal statute, not a contract, mandates. Maryland Dep’t,
            763 F.3d at 1446.
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                 In short, “[e]xclusive jurisdiction in [the Court of Federal
            Claims] under the Tucker Act does not lie ‘merely because a
            plaintiff hints at some interest in a monetary reward from the
            federal government or because success on the merits may
            obligate the United States to pay the complainant.’” Crowley,
            38 F.4th at 1108 (quoting Kidwell, 56 F.3d at 284) (formatting
            modified). Given that settled law and the source of the rights
            and type of relief that the Conference asserts, it is likely that
            the Conference’s APA lawsuit belongs in the district court and
            not the Court of Claims.

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                 In the absence of a preliminary injunction, the funding
            suspension will cause “certain and great” irreparable injury to
            the Conference and its core programs before we can resolve
            this appeal. Wisconsin Gas Co. v. FERC, 758 F.2d 669, 674
            (D.C. Cir. 1985); see also League of Women Voters of United
            States v. Newby, 838 F.3d 1, 8 (D.C. Cir. 2016).

                  The funding suspension has already forced the Conference
            to lay off over half of its staff working on refugee resettlement
            programs (fifty of its ninety-two employees), which is the
            largest subcomponent of the Conference’s staff and operations.
            ECF No. 22-4 (Fuller Decl.) ¶ 6. Without an injunction, more
            layoffs are imminent. See Conference Mot. For Injunction
            Pending Appeal at 2. While the Conference has been able to
            pare back its refugee resettlement services in an orderly manner
            during reductions in refugee admissions under past
            administrations, the sudden “funding suspension, with its lack
            of clarity and the subsequent stoppage of payments, has sent
            [its] refugee resettlement program into a tailspin.” ECF No.
            22-6 (Canny Decl.) ¶ 5. The Conference states that the “rapid,
            forced layoffs that [it] is now experiencing will damage its
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            institutional knowledge and relationships in a categorically
            more severe way than any staff reductions [it] has had to
            implement in the past.” Id. This is because “[t]he
            government’s recent, abrupt funding suspension has made”
            efforts to preserve institutional knowledge “nearly
            impossible.” Id. It is “difficult[], if not impossib[le]” to
            “quantify[] in monetary terms the injury” the Conference will
            suffer from “losing highly skilled and experienced employees”
            in such an abrupt manner and enormous scale. Yorktown Sys.
            Grp. Inc. v. Threat Tec LLC, 108 F.4th 1287, 1296 (11th Cir.
            2024).

                  In addition, as a result of the funding suspension, the
            Conference can no longer advance payments to its
            subrecipients, who provide the direct services to refugees in the
            Conference’s care under its cooperative agreements with the
            government. ECF No. 22-4 (Fuller Decl.) ¶ 12. The
            Conference represents that it has been unable to reimburse
            $10.4 million in costs incurred by its partners, $9.75 million of
            which is for services rendered prior to the State Department’s
            issuance of its suspension letter on January 24, 2025. Id. ¶ 9.
            The Conference’s subrecipients too have had to lay off staff as
            a result of the funding suspension. Id. Crucially, the
            Conference explains that, “[i]f the funding suspension
            continues, more than 5,000 refugees currently in its and its
            subrecipient partners’ care will be left without the resources or
            assistance promised by the cooperative agreements” and
            ordered by Congress. Id.; see also ECF No. 22-2 (Brown
            Decl.) ¶ 7 (As a result of the suspension, a subrecipient’s “cash
            reserves used to pay for rental assistance, food, and clothing for
            [its] refugees have already depleted[,]” and “any payment now
            requires [it] to reallocate resources from [its] other charitable
            programs, thus straining [the] entire organization.”); ECF No.
            22-3 (Colbert Decl.) ¶ 6 (As a result of the suspension, another
            subrecipient has “been able to provide only the most basic
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            resettlement services to [its] refugees, drawing on limited
            financial reserves to provide basic aid such as food, utilities,
            and rental assistance.”).

                 That the suspension has forced the Conference to abruptly
            halt payments to its subrecipients and required its subrecipients
            to endure financial strain is already causing, and will continue
            to cause, irreparable harm to the Conference’s goodwill and
            ability to partner with other organizations in the future. Several
            of the Conference’s partners have stated that the sudden
            suspension has made it unlikely that they will resume
            partnering with the Conference on its refugee resettlement
            programs in the future. ECF No. 22-2 (Brown Decl.) ¶ 11; ECF
            No. 22-3 (Colbert Decl.) ¶ 10. One partner has stated that it
            has already begun the process of permanently closing its
            refugee resettlement program. ECF No. 22-5 (Main Decl.) ¶ 8.
            Such loss of goodwill constitutes irreparable harm. See
            Yorktown Sys. Grp., 108 F.4th at 1296 (recognizing irreparable
            injury to a plaintiff’s “reputation”); Armour & Co. v. Freeman,
            304 F.2d 404, 406 (D.C. Cir. 1962) (recognizing irreparable
            injury to a plaintiff’s “good name”); see also Open Tech. Fund
            v. Pack, No. 20-5195 (D.C. Cir. July 21, 2020) (citing
            Bellsouth Telecomm., Inc. v. MCIMetro Access Transmission
            Servs., LLC, 425 F.3d 964, 970 (11th Cir. 2005) (“[L]oss of
            customers and goodwill is an irreparable injury.”)).

                The government argues that the Conference’s stated harms
            can be redressed by a money judgment, making an injunction
            inappropriate. Gov. Opp. 25. Not so. Most importantly, it is
            impossible for a money judgment months or years from now to
            redress the Conference’s present inability to execute its
            organizational programs to assist refugees already in its care
            because of the cooperative agreements. In addition, given the
            unprecedented decimation of the Conference’s institutional
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            expertise and partner relationships, it is far from clear that a
            money judgment could redress the Conference’s layoffs.

                 On its side of the scale, the government asserts a public
            interest in avoiding an intrusion on executive powers. Gov.
            Opp. 23-24. But the government does not differentiate the
            harm that would result from enjoining the agency in this case
            from the harm that generally results from enjoining an agency
            in all other cases where APA violations are found.

                 The government adds that this case implicates foreign
            affairs because the “President considers ‘humanitarian
            concerns’ and ‘the national interest’ in making decisions about
            refugee admissions.”      Gov. Opp. 23 (citing 8 U.S.C.
            § 1157(a)(2)). That is off base. This case has nothing to do
            with foreign policy or refugee admissions. The Refugee
            Resettlement Program is a domestic program caring for those
            who have already been lawfully admitted to the United States.
            Providing for the general welfare of those in the United States
            with domestic legislation is solidly within Congress’s
            wheelhouse. The State Department’s job is to administer that
            law under the statutory terms and with the statutory funds set
            by Congress, and within the rules of reasonable agency
            decisionmaking set by the APA. See 8 U.S.C. § 1522(a).

                 Because the Conference is likely to succeed in its
            jurisdictional appeal and because the equities weigh decisively
            in the Conference’s favor, I respectfully dissent from the denial
            of the Conference’s motion for an injunction pending appeal.
